Case 1:18-cv-11642-VM-VF Document 351 Filed 09/22/22 Page 1 of 1
Court-Appointed Temporary Receiver for Link Motion

° Inc, Pursuant te The Honorable Judge Victor Marrero of
Rob ert W, S eiden the United States District Court, Southern District of New
York
322 Eighth Avenue Suite 1704 New York, NY 10001 (212) 523 — 0686 rseiden@seidenlawgroup.com

VIA ECF

Hon. Victor Marrero

United States Courthouse
500 Pearl Street

New York, New York 10007

September 22, 2022
Re: Baliga y. Link Motion Inc. et al., 1:18-ev-11642 (S.D.N.Y.)

Dear Judge Marrero,

I write to provide the Court with new information related to the whereabouts of the Receiver’s agent
in the PRC, Mr, Lilin “Francis” Guo (“Mr. Guo”).

After the Receiver submitted its September 8, 2022 (ECF 335) letter to the Court concerning Mr.
Guo, Link Motion Inc.’s (“LEM”) Hong Kong Co-Receiver’s office e-mailed my team and stated
that an individual (the “Individual”!) had passed on a message that Mr, Guo will be reachable in the
near future. My office subsequently communicated with the Individual.

In his communications with my office, the Individual explained that he has known Mr. Guo for over
ten years, and that he and Mr. Guo had several joint projects in China. Additionally, the Individual
is a board member of one of LKM’s VIE entities where Mr. Guo is the Legal Representative, The
Individual stated that he is currently located in Hainan Province, PRC. The Individual further
explained that while he has not spoken with Mr. Guo since late April 2022, Mr. Guo’s wife provided
him with handwritten documents in July 2022, including a power of attorney document (the “POA”)
dated June 30, 2022. The Receiver is in receipt of the POA and it has what appears to be Mr. Guo’s
signature. The POA authorizes the Individual to handle Mr. Guo’s matters related to LKM’s VIE
entity. The Individual stated that he believes that Mr. Guo has been unreachable for reasons unrelated
to LKM. The Individual further stated that he believes Mr. Guo is in Hainan and will reappear in the
next 30-60 days. However, the Individual cautioned that Mr. Guo’s reappearance may be delayed
because of current Covid lockdowns in Hainan. '

Without an agent in mainland China, my office has been unable to confirm the authenticity of the
Individual’s statements and the documents provided, including the authenticity of Mr. Guo’s
signature. My office intends to stay in contact with the Individual and will keep the Court informed
of any further material developments.

 

Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion Inc.

 

' Due to safety concerns, I have not identified the Individual’s name in this public filing. E will provide the Individual’s
name te the Court under in camera review upon request.

 

 
